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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                   Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                     Case No. 22-17842 (PDR)
                                                             (Joint Administration Pending)
             Debtors.1
                                             /

            DEBTORS’ EMERGENCY APPLICATION FOR APPROVAL,
          ON AN INTERIM AND FINAL BASIS, OF THE EMPLOYMENT OF
     LATHAM & WATKINS LLP AS CO-COUNSEL FOR DEBTORS-IN-POSSESSION,
                   EFFECTIVE AS OF THE PETITION DATE

                                       (Emergency Hearing Requested)

                                    Statement of Exigent Circumstances

                 The Debtors respectfully request the Court to consider interim approval
                 of this Application on an emergency basis. Without counsel, the Debtors
                 would be unable to seek the Court orders they require to operate their
                 businesses. The Debtors believe that withholding approval of an
                 application for interim retention of counsel for non-natural persons such
                 as corporations and limited liability companies that cannot represent
                 themselves in federal court would cause immediate and irreparable harm
                 to the estates. The Debtors respectfully request that the Court waive the
                 provisions of Local Rule 9075-1(B), which requires an affirmative
                 statement that a bona fide effort was made in order to resolve the issues
                 raised in this Motion, as the relief requested herein is urgent in nature
                 and does not lend itself to advance resolution.




1
    The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
    tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (“Vital Pharmaceuticals”) (8430); (ii) Bang Energy
    Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
    (9394); (v) Quash Seltzer, LLC (“Quash Seltzer”) (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
    Pharmaceuticals International Sales, Inc. (8019).


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       The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), by

and through their proposed undersigned counsel, pursuant to section 327(a) of the Bankruptcy

Code, Bankruptcy Rules 2014(a), 2016, and 6003, and Local Rules 2014-1(A) and 2016-1(A)

(each as defined below), hereby file this Debtors’ Emergency Application for Approval, on an

Interim and Final Basis, of the Employment of Latham & Watkins LLP as Counsel for Debtors-in-

Possession, Effective as of the Petition Date (this “Application”), seeking approval on an interim

and final basis of the employment of the law firm of Latham & Watkins LLP (“L&W”), to

represent the Debtors as bankruptcy co-counsel in these Chapter 11 Cases (as defined below), in

accordance with the terms and conditions of that certain engagement letter dated August 8, 2022

(the “Engagement Letter”).      In support of this Application, the Debtors rely upon the (a)

Declaration of John C. DiDonato in Support of Chapter 11 Petitions and First Day Pleadings (the

“First Day Declaration”) filed concurrently herewith and incorporated herein and (b) Declaration

of Andrew Sorkin, on Behalf of Latham & Watkins LLP as Proposed Co-Counsel for Debtors-In-

Possession, Effective as of the Petition Date attached hereto as Exhibit A (the “Sorkin

Declaration”), and respectfully represent the following:

                                     Jurisdiction and Venue

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       2.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief sought herein are section 327(a) of title 11 of

the United States Code (the “Bankruptcy Code”), Rules 2014(a), 2016, and 6003 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2014-1(A) and 2016-1(A) of

the Local Bankruptcy Rules for the Southern District of Florida (the “Local Rules”).




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                                            Background

       4.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

       5.      The Debtors are operating their businesses and managing their affairs as debtors-

in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       6.      For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties in interest to the First Day Declaration.

                                         Relief Requested

       7.      The Debtors seek entry of an order (the “Order”), substantially in the form attached

hereto as Exhibit C, authorizing the employment and retention of L&W as bankruptcy co-counsel

for the Debtors, effective as of the Petition Date, in accordance with the terms and conditions of

the Engagement Letter. In accordance with Local Rule 2014-1, the L&W Engagement Letter is

attached as Exhibit B.

                                      L&W’s Qualifications

       8.      The Debtors seek to retain L&W because of L&W’s recognized expertise and

extensive experience and knowledge practicing before bankruptcy courts in large and complex

chapter 11 cases and because of L&W’s knowledge of the Debtors’ business and financial affairs.

       9.      L&W and its partners have represented numerous debtors in their bankruptcy

matters, including Accuride Corporation, Allen Systems Group, Inc., Alta Mesa Resources, Inc.,

AT&T Latin America, Bally Total Fitness Holding Corp., B456 Systems, Inc. (f/k/a A123

Systems, Inc.), Boston Generating, LLC, Centrus Energy Corp. (f/k/a USEC INC.), Chaparral

Energy, Inc., Consolidated Freightways, Cricket Communications, Inc., Dayton Superior

Corporation, DVI, Inc., DNIB Unwind, Inc. (f/k/a BIND Therapeutics, Inc.), Eddie Bauer

Holdings, Inc., Emerge Energy Services LP, Enduro Resource Partners LLC, Freedom


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Communications Holdings, Inc., Global Eagle Entertainment Inc., GNC Holdings, Inc., Graceway

Pharmaceuticals, LLC, Green Field Energy Services, Inc., Hexion Holdings LLC, Hi-Crush Inc.,

Illinois Power Generating Company, Imerys Talc America, Inc., Libbey Glass Inc., Lonestar

Resources US Inc., Lucky Brand Dungarees, LLC, Mallinckrodt plc, MD Helicopters, Inc.,

Monitronics International, Inc., NEC Holdings Corp., Nine Point Energy Holdings, Inc., OnCure

Holdings, Inc., Pacific Drilling S.A., Paddock Enterprises, LLC, Panda Temple Power, LLC,

Rentech WP U.S. Inc., RHI Entertainment, Inc., Sable Permian Resources, LLC, Sienna

Biopharmaceuticals, Inc., Spansion Inc., Spectrum Brands Inc., Stone Energy Corporation,

Sundance Energy Inc., Superior Energy Services, Inc., Traffic Control and Safety Corporation,

Tuscany International Holdings (U.S.A.) Ltd., and Weatherford International plc.

           10.   Moreover, since June 2022, the Debtors and L&W have worked together closely in

an effort to address the Debtors’ capital structure and financial circumstances, including by

providing advice in connection with financing efforts and corporate matters, assisting with the

evaluation of and stakeholder negotiations related to Debtors’ restructuring options, and by

assisting the Debtors in preparing for the Chapter 11 Cases. As a result, L&W possesses an in-

depth knowledge of the Debtors’ business affairs and capital structure and has gained insight into

many of the legal issues that might arise in the context of the Chapter 11 Cases. Accordingly, the

Debtors believe that L&W is both well-qualified and uniquely able to represent them in the Chapter

11 Cases and that such representation is critical to the Debtors’ efforts to maximize value for their

estates.

                                     Services to be Provided

           11.   The Debtors desire to employ L&W under a general retainer because of, among

other reasons, the nature of the legal services that will be required in connection with the Chapter

11 Cases. To engage alternative counsel at this stage of the Debtors’ cases would be tremendously


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disruptive and would derail the possibility of the Debtors’ emergence on the quick timetable

necessary for the Debtors to achieve their chapter 11 objectives.

        12.     Consistent with the Engagement Letter, the Debtors expect L&W to provide the

following legal services:

                (a)    advise the Debtors with respect to their powers and duties as debtors in

possession in the continued management and operation of their businesses and properties;

                (b)    advise and consult on the conduct of the Chapter 11 Cases, including all of

the legal and administrative requirements of operating in chapter 11;

                (c)    advise the Debtors in connection with their efforts to protect, preserve, and

maximize the value of the Debtors’ estates;

                (d)    analyze proofs of claim filed against the Debtors and object to such claims

as necessary;

                (e)    represent the Debtors in connection with cash collateral and postpetition

financing matters;

                (f)    attend meetings and negotiate with representatives of creditors and other

parties in interest;

                (g)    analyze executory contracts and unexpired leases and potential

assumptions, assignments, or rejections of such contracts and leases;

                (h)    prepare pleadings in connection with the Chapter 11 Cases, including

motions, applications, answers, orders, reports, and papers necessary or otherwise beneficial to the

administration of the Debtors’ estates;

                (i)    advise the Debtors in connection with any potential exit financing or other

transaction to facilitate the Debtors’ emergence from bankruptcy;




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               (j)      take necessary action on behalf of the Debtors to obtain approval of a

disclosure statement and confirmation of a chapter 11 plan;

               (k)      appear before this Court or any appellate courts to protect the interests of

the Debtors’ estates before those courts;

               (l)      advise on corporate, litigation, regulatory, finance, tax, employee benefits,

and other legal matters; and

               (m)      perform all other necessary legal services for the Debtors in connection with

the Chapter 11 Cases.

       13.     Concurrently with the filing of this Application, the Debtors filed an application to

retain Berger Singerman LLP (“BSLLP”) as their bankruptcy co-counsel and conflicts counsel.

Because L&W and BSLLP will have well-defined and distinct roles, each counsel will not

duplicate the services the other provides to the Debtors. L&W will coordinate with BSLLP and

any other counsel the Debtors retain in the Chapter 11 Cases to ensure that the legal services each

firm provides to the Debtors are not duplicative.

                                    Professional Compensation

       14.     L&W operates in a national marketplace for legal services in which rates are driven

by multiple factors relating to the individual lawyer, his or her area of specialization, the firm’s

expertise, performance, and reputation, the nature of the work involved, and other factors. L&W’s

hourly rates are designed to compensate L&W fairly for the work of its attorneys and paralegals

and to cover fixed and routine overhead expenses.

       15.     L&W’s current hourly rates are set forth in the Sorkin Declaration, along with the

names and rates of the attorneys with primary responsibility for providing services to the Debtors.

Hourly rates vary with the experience and seniority of the individuals assigned and are subject to




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periodic adjustments to reflect economic and other conditions.2 None of the professionals included

in this engagement will vary his or her rate based on the geographic location of the Chapter 11

Cases.

          16.       L&W’s hourly rates and the financial terms of the engagement proposed herein are

consistent with the rates and terms of L&W’s prepetition engagement. The Debtors have reviewed

and approved L&W’s standard rate structure and determined that it is appropriate and comparable

to (a) the rates that L&W charges for non-bankruptcy representations and (b) the rates of other

comparably skilled professionals.

          17.       Consistent with the Engagement Letter and L&W’s policy with respect to its other

clients, L&W will continue to charge the Debtors for all services provided and for other charges

and disbursements incurred in the rendition of services. It is L&W’s policy to charge its clients in

all areas of practice for identifiable, non-overhead expenses incurred in connection with the

client’s case that would not have been incurred except for representation of that particular client.

It is also L&W’s policy to charge its clients only the amount actually incurred by L&W in

connection with such items.

          18.       During the course of the Chapter 11 Cases, L&W will apply to the Court for

allowance of compensation for professional services rendered and reimbursement of expenses

incurred in the Chapter 11 Cases in accordance with applicable provisions of the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules, and any orders entered in the Chapter 11 Cases governing


2
    L&W increases the hourly billing rate of attorneys and paraprofessionals in the form of (a) step increases historically
    awarded in the ordinary course of business on the basis of advancing seniority and promotion and (b) periodic
    increases within each attorney’s and paraprofessional’s current level of seniority. The step increases do not
    constitute “rate increases” (as the term is used in the Guidelines for Reviewing Applications for Compensation and
    Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective as of
    November 1, 2013, issued by the Executive Office of the United States Trustee). As set forth in the Order, L&W
    will provide ten business-days’ notice to the Debtors, the U.S. Trustee, and any official committee before
    implementing any periodic increases, and will file any such notice with the Court.



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professional compensation and reimbursement for services rendered and charges and

disbursements incurred. Such applications will constitute a request for interim payment against

L&W’s reasonable fees and expenses to be determined at the conclusion of the Chapter 11 Cases.

                     Compensation Received by L&W from the Debtors

       19.     As of the Petition Date, the Debtors did not owe L&W any amounts for legal

services rendered before the Petition Date, and L&W is not a creditor of the Debtors.

       20.     As set forth in the Sorkin Declaration, during the 90-day period prior to the Petition

Date, L&W received payments and advances in the aggregate amount of $2,617,777.45 for

services performed and expenses incurred, and to be performed and incurred, including in

preparation for the commencement of the Chapter 11 Cases. As of the Petition Date, L&W has a

remaining credit balance on its advance in favor of the Debtors in the amount of approximately

$1,121,950 (the “Fee Advance”). L&W intends to apply the Fee Advance to any outstanding

amounts relating to the period prior to the Petition Date that were not processed through L&W’s

system as of the Petition Date.

       21.     L&W requests that the Fee Advance be treated as an evergreen retainer and be held

by L&W as security throughout the Chapter 11 Cases until L&W’s fees and expenses are awarded

and payable to L&W on a final basis. The Debtors submit that an evergreen retainer is appropriate

for several reasons. First, these types of retainer agreements reflect normal business terms in the

marketplace. Second, both L&W and the Debtors are sophisticated business entities that have

negotiated the retainer at arm’s length. Third, the retention of L&W is in the best interests of the

Debtors’ estates, as the applicable retention agreement and retainer allow the Debtors to maintain

their prepetition relationship established with L&W.




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                                             L&W’s Disinterestedness

          22.       To the best of the Debtors’ knowledge, and except as otherwise disclosed in the

Sorkin Declaration, the partners, counsel, and associates of L&W (a) do not have any connection

with any of the Debtors, their affiliates, their creditors, any other party in interest, the United States

Trustee for the Southern District of Florida or any person employed in the office of the same, or

any judge in the United States Bankruptcy Court for the Southern District of Florida or any person

employed in the offices of the same; (b) are “disinterested persons,” as that term is defined in

section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code;

and (c) do not hold or represent any interest adverse to the Debtors’ estates. The Debtors will seek

to retain additional conflicts counsel as necessary if neither L&W nor BSLLP is eligible to

represent the Debtors’ interests in a particular matter.3

          23.       As disclosed in the Sorkin Declaration, L&W has in the past represented, currently

represents, and likely in the future will represent, certain parties in interest in the Chapter 11 Cases.

Except as set forth in the Sorkin Declaration, all such representations are or were in connection

with matters wholly unrelated to the Debtors and the Chapter 11 Cases. Pursuant to section 327(c)

of the Bankruptcy Code, L&W is not disqualified from acting as the Debtors’ co-counsel merely

because it has represented or currently represents certain parties in interest in matters unrelated to

the Chapter 11 Cases.




3
    In the event the Debtors seek to employ and retain separate conflicts counsel in connection with the Chapter 11
    Cases to handle matters that the Debtors may encounter that cannot be handled appropriately by L&W or BSLLP
    because of a conflict of interest, then the Debtors intend that the services of such conflicts counsel shall complement,
    and not duplicate, the services to be rendered by L&W and BSLLP. Moreover, the responsibilities of such conflicts
    counsel shall be confined to discrete legal matters that are distinct from the matters handled by L&W or BSLLP.
    Conflicts counsel shall act on its own and will not act under the direct supervision of L&W. Indeed, the Debtors
    are extremely mindful of the need to avoid duplication of services and appropriate procedures will be implemented
    to ensure that there is no such duplication.



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       24.     The Debtors understand that L&W will continue to conduct periodic conflicts

analyses to determine whether any conflicts or other disqualifying circumstances exist or arise. If

any relevant facts or relationships are discovered, L&W will promptly file a supplemental

declaration as required by Bankruptcy Rule 2014(a).

                                       Authority for Relief

       25.     The Debtors seek retention of L&W as their bankruptcy co-counsel pursuant to

section 327(a) of the Bankruptcy Code, which provides that a debtor, subject to Court approval:

               may employ one or more attorneys, accountants, appraisers,
               auctioneers, or other professional persons, that do not hold or
               represent an interest adverse to the estate, and that are disinterested
               persons, to represent or assist the [debtor] in carrying out the
               [debtor]’s duties under this title.

11 U.S.C. § 327(a).

       26.     Bankruptcy Rule 2014(a) requires that an application for retention include:

               specific facts showing the necessity for the employment, the name
               of the [firm] to be employed, the reasons for the selection, the
               professional services to be rendered, any proposed arrangement for
               compensation, and, to the best of the applicant’s knowledge, all of
               the [firm’s] connections with the debtor, creditors, any other party
               in interest, their respective attorneys and accountants, the United
               States trustee, or any person employed in the office of the United
               States trustee.

Fed. R. Bankr. P. 2014.

       27.     The Debtors submit that for all the reasons stated above and in the Sorkin

Declaration and the First Day Declaration, the retention and employment of L&W is necessary

and in the best interest of the Debtors, their estates, and their creditors and should be approved.




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       28.     The Sorkin Declaration, containing a verified statement as required under Rule

2014 of the Federal Rules of Bankruptcy Procedure, is attached and demonstrates that under these

circumstances, L&W is disinterested as required by section 327(a) of the Bankruptcy Code.

       29.     The Debtors seek entry of the Order, on an interim basis, approving the employment

of L&W, and scheduling a final hearing to consider this Application. Entry of the Order will help

avoid delay in obtaining approval until a final hearing is scheduled, which would cause immediate

and irreparable harm to the Debtors, who would be without counsel for first day hearings. See In

re First NLC Financial Services, LLC, 382 B.R. 547, 549 (Bankr. S.D. Fla. 2008) (overruling

objection of U.S. Trustee to retention of Berger Singerman as proposed counsel for chapter 11

debtor, finding that granting interim relief was proper under Bankruptcy Rule 6003 and agreeing

with the CRO’s testimony “that without counsel for [the first] 20 days [after the petition date],

these cases would be immediately and irreparably harmed[.]”).

       30.     Accordingly, the Debtors seek to retain L&W on an interim basis pursuant to

Bankruptcy Rule 6003, as such retention of co-counsel for chapter 11 debtors has been consistently

approved in bankruptcy courts across the country including in Florida and this district. See, e.g.,

In re Liberty Power Holdings, LLC, Case No. 21-13797-SMG (Bankr. S.D. Fla. April 28, 2021);

In re American Purchasing Services, LLC d/b/a American Medical Depot, et al., Case No. 20-

23495-SMG (Bankr. S.D. Fla. Dec. 16, 2020); In Re Tamarac 10200, LLC, et al., Case No. 20-

23346-PDR (Bankr. S.D. Fla. Dec. 11, 2020); In re First NLC Financial Services, LLC, supra.

accord In re Arrow Air, Inc., et al., Nos. 10-28831-AJC, 10-28834-AJC, 2010 WL 6982673

(Bankr. S.D. Fla. July 12, 2010); In re First Foliage, L.C., No. 10-27532-BKC-LMI, 2010 WL

8033344 (Bankr. S.D. Fla. June 23, 2010); In re Vero Fashion Outlets, LLC, No. 09-31344-EPK,

2009 WL 7199998 (Bankr. S.D. Fla. October 12, 2009).




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       WHEREFORE, the Debtors respectfully request entry of the Order in the form attached

hereto as Exhibit C: (i) approving, on an interim basis, the Debtors’ employment of L&W, as

bankruptcy co-counsel to the Debtors in these Chapter 11 Cases, effective as of the Petition Date;

(ii) scheduling a final hearing on this Application; and (iii) for such other and further relief as the

Court deems just and proper.

Dated: October 10, 2022                Respectfully submitted,

                                       VITAL PHARMACEUTICALS, INC., et al., Debtors
                                       1600 N. Park Drive
                                       Weston, FL 33326


                                       By: /s/ John C. DiDonato
                                           John C. DiDonato




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Dated: October 10, 2022                             Respectfully submitted,
       Miami, Florida
                                                    /s/ Jordi Guso
George A. Davis (pro hac vice pending)              Jordi Guso
Tianjiao (“TJ”) Li (pro hac vice pending)           Florida Bar No. 863580
Brian S. Rosen (pro hac vice pending)               Michael J. Niles
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– and –

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                           Proposed Co-Counsel for the Debtors




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                        EXHIBIT A

                    (Sorkin Declaration)
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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                   Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                     Case No. 22-17842 (PDR)
                                                             (Joint Administration Pending)
              Debtors.1
                                             /

                  DECLARATION OF ANDREW SORKIN, ON BEHALF OF
               LATHAM & WATKINS LLP AS PROPOSED CO-COUNSEL FOR
             DEBTORS-IN-POSSESSION, EFFECTIVE AS OF THE PETITION DATE

                    I, Andrew Sorkin, declare as follows:

             1.     I am a partner in the law firm of Latham & Watkins LLP (“L&W”), an international

law firm with offices across the United States, Europe, and Asia. I am admitted in, practicing in,

and a member in good standing of the bars of the District of Columbia and the State of New York,

and there are no disciplinary proceedings pending against me. I am over the age of eighteen, am

authorized to submit this Declaration, and am competent to testify on the matters contained herein.

             2.     I submit this Declaration to provide disclosure in connection with the Debtors’

Emergency Application for Approval, on an Interim and Final Basis, of the Employment of Latham

& Watkins LLP as Co-Counsel for Debtors-in-Possession, Effective as of the Petition Date

(the “Application”),2 by which the above-captioned debtors and debtors-in-possession (together,




1
    The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
    tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (“Vital Pharmaceuticals”) (8430); (ii) Bang Energy
    Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
    (9394); (v) Quash Seltzer, LLC (“Quash Seltzer”) (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
    Pharmaceuticals International Sales, Inc. (8019).
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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the “Debtors”) seek authority to employ and retain L&W as bankruptcy co-counsel effective as of

the Petition Date.

       3.      Except as otherwise indicated, all facts set forth in this Declaration are based upon

my personal knowledge, information supplied to me by other L&W professionals or

paraprofessionals, or learned from my review of relevant documents.            To the extent any

information disclosed herein requires amendment or modification as additional information

becomes available to L&W, a supplemental declaration will be submitted to this Court reflecting

such amended or modified information.

                                 L&W’S QUALIFICATIONS

       4.      The Debtors seek to retain L&W because of L&W’s recognized expertise and

extensive experience and knowledge practicing before bankruptcy courts in large and complex

chapter 11 cases and because of L&W’s knowledge of the Debtors’ business and financial affairs.

       5.      L&W and its partners have represented numerous debtors in their bankruptcy

matters, including Accuride Corporation, Allen Systems Group, Inc., Alta Mesa Resources, Inc.,

AT&T Latin America, Bally Total Fitness Holding Corp., B456 Systems, Inc. (f/k/a A123

Systems, Inc.), Boston Generating, LLC, Centrus Energy Corp. (f/k/a USEC INC.), Chaparral

Energy, Inc., Consolidated Freightways, Cricket Communications, Inc., Dayton Superior

Corporation, DVI, Inc., DNIB Unwind, Inc. (f/k/a BIND Therapeutics, Inc.), Eddie Bauer

Holdings, Inc., Emerge Energy Services LP, Enduro Resource Partners LLC, Freedom

Communications Holdings, Inc., Global Eagle Entertainment Inc., GNC Holdings, Inc., Graceway

Pharmaceuticals, LLC, Green Field Energy Services, Inc., Hexion Holdings LLC, Hi-Crush Inc.,

Illinois Power Generating Company, Imerys Talc America, Inc., Libbey Glass Inc., Lonestar

Resources US Inc., Lucky Brand Dungarees, LLC, Mallinckrodt plc, MD Helicopters, Inc.,



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Monitronics International, Inc., NEC Holdings Corp., Nine Point Energy Holdings, Inc., OnCure

Holdings, Inc., Pacific Drilling S.A., Paddock Enterprises, LLC, Panda Temple Power, LLC,

Rentech WP U.S. Inc., RHI Entertainment, Inc., Sable Permian Resources, LLC, Sienna

Biopharmaceuticals, Inc., Spansion Inc., Spectrum Brands Inc., Stone Energy Corporation,

Sundance Energy Inc., Superior Energy Services, Inc., Traffic Control and Safety Corporation,

Tuscany International Holdings (U.S.A.) Ltd., and Weatherford International plc.

       6.      I am one of the principal L&W attorneys working on this engagement. I have

extensive experience in corporate restructurings and related matters, including debtor

representations in the chapter 11 cases of, among others, Alta Mesa Resources, Inc., K-V

Pharmaceutical Company, Mallinckrodt plc, Nine Point Energy Holdings, Inc., RathGibson, Inc.,

Weatherford International plc, WP Steel Venture, LLC, Value City Holdings, Inc., and Verso

Corporation. I have represented debtors, asset purchasers, bank groups, secured lenders, unsecured

creditors, and other parties in both in-court and out-of-court restructurings. Other professionals

and paraprofessionals in L&W’s insolvency practice and in other practice areas, many of whom

also have extensive experience in corporate restructurings generally and debtor representations in

chapter 11 cases specifically, will participate in the representation of the Debtors in the Chapter

11 Cases.

       7.      Moreover, since June 2022, the Debtors and L&W have worked together closely in

an effort to respond to the Debtors’ financial circumstances, including by engaging in negotiations

with the Debtors’ major stakeholders, advising with respect to the Debtors’ strategic alternatives

and by assisting the Debtors in all aspects of preparing the Chapter 11 Cases. As a result, L&W

possesses an in-depth knowledge of the Debtors’ business affairs and capital structure and has

gained insight into many of the legal issues that could arise in the context of the Chapter 11 Cases.



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       8.      Accordingly, I believe that L&W is both well-qualified and uniquely able to

represent the Debtors in the Chapter 11 Cases and that such representation will contribute greatly

to the efficient administration of the estates, thereby minimizing expense to the estates and

facilitating the progress and success of the Chapter 11 Cases.

                                SERVICES TO BE PROVIDED

       9.      Pursuant to that certain engagement letter dated August 8, 2022 (the “Engagement

Letter”), a copy of which is attached as Exhibit B to the Application, the Debtors retained L&W

to provide, without limitation, the following legal services:

               a.      advise the Debtors with respect to their powers and duties as debtors in
                       possession in the continued management and operation of their businesses
                       and properties;

               b.      advise and consult on the conduct of the Chapter 11 Cases, including all of
                       the legal and administrative requirements of operating in chapter 11;

               c.      advise the Debtors in connection with their efforts to protect, preserve, and
                       maximize the value of the Debtors’ estates;

               d.      analyze proofs of claim filed against the Debtors and object to such claims
                       as necessary;

               e.      represent the Debtors in connection with cash collateral and postpetition
                       financing matters;

               f.      attend meetings and negotiate with representatives of creditors and other
                       parties in interest;

               g.      analyze executory contracts and unexpired leases and potential
                       assumptions, assignments, or rejections of such contracts and leases;

               h.      prepare pleadings in connection with the Chapter 11 Cases, including
                       motions, applications, answers, orders, reports, and papers necessary or
                       otherwise beneficial to the administration of the Debtors’ estates;

               i.      advise the Debtors in connection with any potential exit financing or other
                       transaction to facilitate the Debtors’ emergence from bankruptcy;

               j.      take necessary action on behalf of the Debtors to obtain approval of a
                       disclosure statement and confirmation of a chapter 11 plan;


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               k.      appear before this Court or any appellate courts to protect the interests of
                       the Debtors’ estates before those courts;

               l.      advise on corporate, litigation, regulatory, finance, tax, employee benefits,
                       and other legal matters; and

               m.      perform all other necessary legal services for the Debtors in connection with
                       the Chapter 11 Cases.

       10.     I understand that, concurrently with the filing of the Application, the Debtors filed

an application to retain Jordi Guso and the law firm of Berger Singerman LLP (“BSLLP”) as their

bankruptcy co-counsel and conflicts counsel. Because L&W and BSLLP have had, and will

continue to have, distinct and well-defined roles, each counsel will not duplicate the services the

other provides to the Debtors. L&W will coordinate with BSLLP and any other counsel the

Debtors retain in the Chapter 11 Cases to ensure that the legal services each firm provides to the

Debtors are not duplicative.

                               PROFESSIONAL COMPENSATION

       11.     L&W intends to apply to this Court for allowance of compensation for professional

services rendered and reimbursement of expenses incurred in connection with the Chapter 11

Cases in compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions

of the Bankruptcy Rules, the Local Rules, and any procedures and orders of this Court.

       12.     L&W operates in a national marketplace for legal services in which rates are driven

by multiple factors relating to the individual lawyer, his or her area of specialization, the firm’s

expertise, performance, and reputation, the nature of the work involved, and other factors. L&W’s

current hourly rates for matters related to the Chapter 11 Cases range as follows:

                     Billing Category                  Rates
                     Partners                          $1,265 to $2,075
                     Counsel                           $1,210 to $1,720
                     Associates                        $655 to $1,300
                     Professional Staff                $190 to $965
                     Paralegals                        $270 to $600

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          13.      L&W’s hourly rates are designed to compensate L&W fairly for the work of its

attorneys and paralegals and to cover fixed and routine overhead expenses. Hourly rates vary with

the experience and seniority of the individuals assigned and are subject to periodic adjustments to

reflect economic and other conditions (which adjustments will be reflected in the first L&W fee

application following such adjustments).3 The current hourly rates for the attorneys with primary

responsibility for providing services to the Debtors are as follows:

                              Attorney                                     Hourly Rate
                           Andrew Sorkin                                     $1,540
                          Amy Quartarolo                                     $1,265
                          Elizabeth Morris                                   $1,165
                           Jeramy Webb                                       $1,165
                            Brian Rosen                                       $990
                               T.J. Li                                        $990
                         Jon Weichselbaum                                     $990
                            Whit Morley                                       $895

          14.      Consistent with the Engagement Letter and L&W’s policy with respect to its other

clients, L&W will continue to charge the Debtors for all services provided and for other charges

and disbursements incurred in the rendition of services. It is L&W’s policy to charge its clients in

all areas of practice for identifiable, non-overhead expenses incurred in connection with the

client’s case that would not have been incurred except for representation of that particular client.

It is also L&W’s policy to charge its clients only the amount actually incurred by L&W in

connection with such items. These charges and disbursements include (without limitation) costs

for photocopying, electronic data management services, including scanning and document

imaging, travel, travel-related expenses, business meals, computerized research, messengers,



3
    L&W’s billing rates are usually revised annually, on or around January 1 of each year, as is customary with L&W’s
    policies. Accordingly, L&W’s billing rates will increase on January 1, 2023. As set forth in the Order, L&W will
    provide ten business-days’ notice to the Debtors, the U.S. Trustee, and any official committee before implementing
    any periodic increases, and will file any such notice with this Court.


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couriers, postage, witness fees, and other fees related to trials and hearings. L&W professionals

also may charge their overtime meals and overtime transportation to the Debtors consistent with

prepetition practices, and L&W will continue to charge for overtime secretarial charges that arise

out of business necessity. L&W will charge the Debtors $0.15 per page for standard duplication

in accordance with the Local Rules.

         15.    No promises have been received by L&W, or any partner, counsel, or associate

thereof, as to payment or compensation in connection with the Chapter 11 Cases other than in

accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the

Local Rules. Except for sharing arrangements among L&W, its affiliated law practice entities,

and their respective members, in accordance with sections 329 and 504 of the Bankruptcy Code

and Bankruptcy Rule 2016(b), L&W has not entered into any agreements, express or implied, with

any other party in interest, including the Debtors, any creditor, or any attorney for such party in

interest in the Chapter 11 Cases for (a) the purpose of sharing or fixing fees or other compensation

to be paid to any such party in interest or its attorneys for services rendered in connection therewith,

(b) payment of such compensation from the assets of the estates in excess of the compensation

allowed by this Court pursuant to the applicable provisions of the Bankruptcy Code, or (c) payment

of compensation in connection with the Chapter 11 Cases other than in accordance with the

applicable provisions of the Bankruptcy Code.

                                  U.S. TRUSTEE GUIDELINES

         16.    L&W will make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in the U.S. Trustee Guidelines, both in

connection with this Application and with any fee applications filed by L&W in the Chapter 11

Cases.



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       17.    The following is provided in response to the request for additional information set

forth in Paragraph D.1 of the U.S. Trustee Guidelines:

                      a.     Question: Did L&W agree to any variations from, or alternatives
                             to, L&W’s standard billing arrangements for this engagement?

                             Answer: No. The rate structure provided by L&W is appropriate
                             and comparable to (a) the rates that L&W charges for non-
                             bankruptcy representations and (b) the rates of other comparably
                             skilled professionals.

                      b.     Question: Do any of the L&W professionals in this engagement
                             vary their rate based on the geographic location of the Debtors’
                             chapter 11 cases?

                             Answer: No.

                      c.     Question: If L&W has represented the Debtors in the 12 months
                             prepetition, disclose L&W’s billing rates and material financial
                             terms for the prepetition engagement, including any adjustments
                             during the 12 months prepetition. If L&W’s billing rates and
                             material financial terms have changed postpetition, explain the
                             difference and the reasons for the difference.

                      d.     Answer: L&W’s current hourly rates for services rendered on
                             behalf of the Debtors are set forth above. These rates have been
                             used since August 9 of this year. Prior to August 9, L&W used the
                             following hourly rates for services rendered on behalf of the
                             Debtors: $1,310 to $2,150 for partners; $1,255 to $1,830 for
                             counsel; $730 to $1,400 for associates; $230 to $1,290 for
                             professional staff; and $185 to $735 for paralegals. All material
                             financial terms have remained unchanged since the prepetition
                             period.

                      e.     Question: Have the Debtors approved L&W’s budget and staffing
                             plan and, if so, for what budget period?

                             Answer: Yes. L&W has provided the Debtors with a prospective
                             budget and staffing plan setting forth the types of timekeepers,
                             numbers thereof, and applicable hourly rates it expects during the
                             Chapter 11 Cases, which have been approved by the Debtors. The
                             budget and staffing plan cover the period from the Petition Date to
                             December 31, 2022.




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              COMPENSATION RECEIVED BY L&W FROM THE DEBTORS

       18.     As of the Petition Date, the Debtors did not owe L&W any amounts for legal

services rendered before the Petition Date, and L&W is not a creditor of the Debtors.

       19.     As set forth in the chart below, during the 90-day period prior to the Petition Date,

L&W received payments and advances in the aggregate amount of $2,617,777.45 for services

performed and expenses incurred, and to be performed and incurred, including in preparation for

the commencement of the Chapter 11 Cases. All payments were in the form of retainers for the

advance payment of subsequent invoices (the “Fee Advance”) and are set forth in the chart below.

As of the Petition Date, the balance of the Fee Advance was approximately $1,121,950. L&W

intends to apply the Fee Advance to any outstanding amounts relating to the period prior to the

Petition Date that were not processed through L&W’s system as of the Petition Date and will seek

the approval of this Court prior to applying any portion of the remaining Fee Advance to

postpetition fees and expenses.

                  Invoice     Payment     Amount          Date Range                    Fee Advance
    Transaction                                                         Amount Paid
                  Date        Date        Invoiced        of Services                   Balance
    Advance
                              8/9/2022                                  $400,000.00     $400,000.00
    Payment
                                                          08/08/22-     Fee Advance
    Invoice       8/16/2022               $53,786.95                                    $346,213.05
                                                          8/14/22       applied
                                                          08/08/22-     Fee Advance
    Invoice       8/16/2022               $138,990.50                                   $207,222.55
                                                          08/15/22      applied
    Advance
                              8/26/2022                                 $192,777.45     $400,000.00
    Payment
                                                          08/10/22-     Fee Advance
    Invoice       8/29/2022               $233,530.77                                   $166,469.23
                                                          08/19/22      applied
                                                          08/10/22-     Fee Advance
    Invoice       8/29/2022               $61,411.50                                    $105,057.73
                                                          08/21/222     applied
    Advance
                              9/15/2022                                 $2,025,000.00   $2,130,057.73
    Payment
                                                          08/08/22-     Fee Advance
    Invoice       9/19/2022               $11,749.50                                    $2,118,308.23
                                                          09/09/22      applied
                                                          09/05/22-     Fee Advance
    Invoice       9/19/2022               $67,296.91                                    $2,051,011.32
                                                          09/11/22      applied
                                                          9/12/22-      Fee Advance
    Invoice       9/26/2022               $14,976.35                                    $2,036,034.97
                                                          9/17/22       applied
                                                          9/12/22-      Fee Advance
    Invoice       9/26/2022               $83,921.50                                    $1,952,113.47
                                                          9/18/22       applied


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                                                                       Fee Advance
    Invoice         9/29/2022           $56,396.59     8/9/22-9/2/22                 $1,895,716.88
                                                                       applied
                                                       8/22/22-        Fee Advance
    Invoice         9/29/2022           $102,533.20                                  $1,793,183.68
                                                       9/4/22          applied
                                                       9/19/22-        Fee Advance
    Invoice         9/29/2022           $6,218.50                                    $1,786,965.18
                                                       9/23/22         applied
                                                       9/19/22-        Fee Advance
    Invoice         9/29/2022           $320,596.81                                  $1,466,368.37
                                                       9/28/22         applied
    Invoice         10/7/2022           $344,417.50    9/12/22 -       Fee Advance   $1,121,950.87
                                                       10/6/22         applied

       20.     L&W requests that the Fee Advance be treated as an evergreen retainer and be held

by L&W as security throughout the Chapter 11 Cases until L&W’s fees and expenses are awarded

and payable to L&W on a final basis.

                                    DISINTERESTEDNESS

       21.     In preparing this Declaration, I used a set of procedures developed by L&W to

ensure compliance with the requirements of the Bankruptcy Code, the Bankruptcy Rules, and the

Local Rules regarding the retention of professionals by a debtor under the Bankruptcy Code

(the “Firm Disclosure Procedures”). Pursuant to the Firm Disclosure Procedures, I performed, or

caused to be performed, the following actions to identify the parties relevant to this Declaration

and to ascertain L&W’s connection to such parties:

               a.       The following comprehensive list (the “Retention Checklist”) of the types
                        of entities that may have contacts with the Debtors was developed through
                        discussions with the L&W attorneys who have provided services to the
                        Debtors and in consultation with the advisors to and senior management of
                        the Debtors:

                        (i)    Debtors and Affiliated Entities
                        (ii)   Debtors’ Restructuring Professionals
                        (iii)  Ordinary Professionals
                        (iv)   Lease Counterparties
                        (v)    Landlord/Lessors
                        (vi)   Counsel/Professionals to Material Counterparties
                        (vii)  Current and Former Officers and Directors of Debtors and
                               Affiliates
                        (viii) Significant Equityholders
                        (ix)   Secured Lenders
                        (x)    Banking Relationships


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                             (xi)    Parties to Pending Litigation
                             (xii) Insurance and Insurance Providers
                             (xiii) Potential Major Unsecured Creditors (including Counterparties to
                                     Major Contracts)
                             (xiv) Vendors
                             (xv) Lien Search Parties
                             (xvi) Other Unsecured Creditors
                             (xvii) Taxing and Other Significant Governmental Authorities
                             (xviii) Utility Providers
                             (xix) United States Bankruptcy Judges in the Southern District of
                                     Florida
                             (xx) Staff for Southern District of Florida Bankruptcy Judges
                             (xxi) United States Trustee for the Southern District of Florida (and Key
                                     Staff Members)

                    b.       L&W obtained information responsive to the Retention Checklist through
                             several inquiries of the Debtors’ senior management and advisors and
                             review of documents provided by the Debtors to L&W. L&W then used
                             that information, together with other information identified by L&W, to
                             compile a list of the names of entities that may be parties in interest in the
                             Chapter 11 Cases (the “Potential Parties in Interest”), as set forth on
                             Appendix 1 hereto.4 The information listed on Appendix 1 may have
                             changed without my knowledge and may change during the pendency of the
                             Chapter 11 Cases. L&W will update this Declaration, as described below,
                             when L&W becomes aware of new material information.

                    c.       L&W maintains a master client database as part of its conflict clearance and
                             billing records. The master client database includes the names of the entities
                             for which any attorney time charges have been billed since the database was
                             first created (the “Client Database”). The Client Database includes the
                             names of all current and former clients, the names of the parties who are or
                             were related or adverse to such current and former clients, and the names of
                             the L&W personnel who are or were responsible for current or former
                             matters for such clients. The Client Database also includes the name of
                             former clients of L&W attorneys while such attorneys were at a prior firm.
                             L&W policy is that no new matter may be accepted or opened within L&W
                             without completing and submitting to those charged with maintaining the
                             conflict clearance system the information necessary to check each such
                             matter for conflicts, including the identity of the prospective client, the
                             name of the matter, adverse parties, and, in some cases, parties related to
                             the client or to an adverse party. Accordingly, the database is updated for
                             every new matter undertaken by L&W. The accuracy of the system is a


4
    The entities included on the list of Potential Parties in Interest (and the categories contained therein) were provided
    by the Debtors to L&W for purposes of a conflict check only and should not be relied upon by any party as a list of
    creditors or for any other purpose.


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                             function of the completeness and accuracy of the information submitted by
                             the attorney opening a new matter.

                    d.       L&W compared the names of each of the Potential Parties in Interest to
                             client matters in the Client Database for which professional time was
                             recorded during the three years prior to the Petition Date. Any matches to
                             names in the Client Database generated by the comparison were compiled,
                             together with the names of the respective L&W personnel responsible for
                             the identified client matters (the “Client Match List”). The Client Match
                             List is attached as Appendix 2 to this Declaration. 5

                    e.       Using information in the Client Database concerning entities on the Client
                             Match List and making general and, if applicable, specific inquiries of L&W
                             personnel, L&W verified that it does not represent and has not represented
                             any entity on the Client Match List in connection with the Chapter 11 Cases.

                    f.       In addition, a general inquiry was sent by email to all L&W attorneys to
                             determine whether any such individuals or any members of their households
                             (i) own or owned any debt or equity securities of the Debtors; (ii) hold or
                             held any claim against or interest adverse to the Debtors; (iii) represent or
                             represented a client in a matter adverse to the Debtors; (iv) are or were
                             officers, directors, or employees of the Debtors; (v) are related to or have
                             any connections to Bankruptcy Judges in the Southern District of Florida;
                             or (vi) are related to or have any connections to anyone working in the
                             Office of the United States Trustee for the Southern District of Florida (the
                             “U.S. Trustee”).

          22.       L&W compiled responses to the foregoing inquiries for the purpose of preparing

this Declaration. Responses to the inquiry described in subparagraph (f) above indicate that, as of

the Petition Date and except as described below, no L&W attorneys or members of their household:

(i) own or owned any debt or equity securities of the Debtors;6 (ii) hold or held any claim against

or interest adverse to the Debtors; (iii) represent or represented a client in a matter adverse to the




5
    As referenced in Appendix 2, the term “Current Client” refers to an entity listed as a client in L&W’s Client Database
    for whom time has been recorded in the past three years and L&W has at least one open matter. The term “Former
    Client” refers to an entity listed as a client in L&W’s Client Database for whom time has been recorded in the past
    three years but all matters for such client have since been closed. The term “Prior Client” refers to an entity listed
    as a client of an L&W attorney while such attorney was at a prior firm. L&W does not disclose connections if time
    was recorded more than three years before the Petition Date.
6
    Certain L&W attorneys or members of the households of L&W attorneys may unknowingly hold interests in the
    Debtors in blind, discretionary accounts or mutual funds.


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Debtors; (iv) are or were officers, directors, or employees of the Debtors; (v) are related to or have

any connections to Bankruptcy Judges in the Southern District of Florida; or (vi) are related to or

have any connections to anyone working in the Office of the U.S. Trustee.

          23.     None of the entities listed on Appendix 2 represented more than 1% of L&W’s total

client billings for the twelve-month period ending August 31, 2022 (on a consolidated basis).7

          24.     L&W will not represent the Debtors in an adversary proceeding commenced against

any client of L&W unless L&W has an applicable waiver on file or first receives a waiver from

such entity allowing L&W to commence such an action. To the extent that a waiver does not exist

or is not obtained from such entity and it is necessary for the Debtors to commence an adversary

proceeding against that entity, the Debtors will employ BSLLP or retain separate conflicts counsel

to represent them in that particular matter. In addition, L&W will not represent any client on any

matter adverse to the Debtors or their estates while retained as the Debtors’ counsel in the Chapter

11 Cases.

          25.     L&W will periodically review its files during the pendency of the Chapter 11 Cases

to ensure that no conflicts or other disqualifying circumstances exist or arise. If any relevant facts

or relationships are discovered or arise, L&W will use reasonable efforts to identify such further

developments and will promptly file a supplemental declaration as required by Bankruptcy Rule

2014(a). In that regard, L&W intends to disclose clients in the capacity that they first appear in a

conflicts search. For example, if a client has already been disclosed in this Declaration in one

capacity (e.g., a bank), and the client appears in a subsequent conflicts search in a different capacity

(e.g., a lender), then L&W does not intend to disclose the same client again in supplemental




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    According to L&W’s records as of September 29, 2022.


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declarations, unless the circumstances are such in the latter capacity that additional disclosure is

required.

       26.     Except as set forth herein, and based upon the information available to me as of the

date hereof, neither I, nor L&W, nor any partner or associate thereof, insofar as I have been able

to ascertain, holds or represents any interest adverse to the Debtors or their estates. Based on the

foregoing and to the best of my knowledge, I believe that: (a) L&W is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

the Bankruptcy Code; and (b) L&W has no connection to the Debtors, their creditors, or their

related parties except as may be disclosed in this Declaration (as supplemented from time-to-time).

The proposed engagement of L&W is not prohibited by or improper under Bankruptcy Rule

5002(a).

                                  SPECIFIC DISCLOSURES

       27.     As specifically set forth below and in Appendix 2, L&W represents or has

represented certain of the Debtors’ creditors and professionals, and other Potential Parties in

Interest in matters unrelated to the Debtors and the Chapter 11 Cases. With the exception of certain

former representations described in paragraphs 35, 37, and 38 below, none of the representations

described herein is adverse to the interests of the Debtors or their estates. Moreover, pursuant to

section 327(c) of the Bankruptcy Code, L&W is not disqualified from acting as the Debtors’ co-

counsel merely because it represents or has represented the Debtors’ creditors, professionals, or

other Potential Parties in Interest in matters unrelated to the Debtors or the Chapter 11 Cases. I do

not believe that L&W’s current and prior representations described herein preclude L&W from

being a disinterested party under the Bankruptcy Code.




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                             Relationships with Significant Lenders

       28.     L&W currently represents or formerly represented certain of the Debtors’

significant secured or unsecured lenders or their affiliates. Specifically, L&W currently represents

or in the past has represented Truist Bank, CoBank, ACB, HSBC Bank USA, N.A., United

Community Bank D/B/A Seaside Bank and Trust, Huntington National Bank, and/or certain of

their affiliates (collectively, the “Lenders”) in a number of different matters unrelated to the

Debtors or the Chapter 11 Cases. The Lenders comprise one or more of the following: (a) a

prepetition or postpetition lender to the Debtors; (b) an entity with whom the Debtors have a

banking relationship; or (c) an agent under the Debtors’ prepetition or postpetition credit facilities.

L&W has not represented and will not represent the Lenders in connection with any matter in the

Chapter 11 Cases.

       29.     I do not believe that L&W’s past or current representation of the Lenders in matters

unrelated to the Debtors or the Chapter 11 Cases precludes L&W from being a disinterested party

under the Bankruptcy Code. In the event that the Debtors and any of the Lenders become directly

adverse to one another in an adversary proceeding in the Chapter 11 Cases, the Debtors will

employ conflicts counsel to handle the matter as necessary.

                            Relationships with Significant Creditors

       30.     L&W currently represents or formerly represented certain of the Debtors’

significant prepetition creditors or their affiliates. Specifically, L&W currently represents or in

the past has represented Graphic Packaging International, LLC, XPO Global Forwarding, Inc., and

American Express Company in a number of different matters unrelated to the Debtors or the

Chapter 11 Cases. I do not believe that L&W’s past or current representations described in this

paragraph preclude L&W from being a disinterested party under the Bankruptcy Code. In the

event that the Debtors and any such creditor become directly adverse to one another in an adversary

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proceeding in the Chapter 11 Cases, the Debtors will employ conflicts counsel to handle the matter

as necessary.

                        Other Connections to Potential Parties in Interest

       31.       Certain insurance companies pay the legal bills of L&W clients. Some of these

insurance companies may be involved in the Chapter 11 Cases.              None of these insurance

companies, however, is an L&W client as a result of the fact that it pays legal fees on behalf of a

client of L&W.

       32.       Certain of the parties in interest in the Chapter 11 Cases may be, or previously may

have been, members of ad hoc or official creditors’ committees represented by L&W in matters

unrelated to the Chapter 11 Cases. In such instances, L&W represented only the committee or

group, and did not represent the creditors in their individual capacities, and no attorney client

relationship exists or existed between L&W and such parties in interest unless specifically noted.

L&W does not and will not represent any of these parties in connection with the Chapter 11 Cases.

       33.       L&W may have represented, and may currently represent, entities that hold or may

in the future hold certain of the Debtors’ debt in beneficial accounts on behalf of unidentified

parties. Because distressed debt is actively traded in commercial markets, L&W may be unaware

of the actual holder of such debt at any given moment. L&W also represents numerous entities in

unrelated matters that may buy and/or sell distressed debt, claims, or equity interests of chapter 11

debtors. Moreover, from time to time, L&W is engaged by various entities that buy and/or sell

distressed debt to analyze the capital structure of a distressed company based on a review of

publicly available information. L&W does not undertake such reviews after it has been engaged

to represent any such company, including the Debtors, and does not view any public debt review

as an adverse representation to the Debtors. Similarly, as a large, international firm, L&W may

represent creditors and/or investors of or parties interested in investing in one or more parties in

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interest in these cases. L&W does not believe these relationships represent interests adverse to the

estate.

          34.    Certain of the Debtors and their non-debtor affiliates or other entities associated

with the Debtors may be creditors of entities that L&W currently represents or has represented in

bankruptcy proceedings or post-effective date claims processes. Similarly, certain parties in

interest in the Chapter 11 Cases may be current or former L&W restructuring clients. L&W will

not represent the Debtors, the Debtors’ non-debtor affiliates, or other entities associated with the

Debtors in any matter related to other L&W clients’ bankruptcy proceedings. Nor will L&W

represent any of its other restructuring clients against the Debtors in any of its other clients’

restructuring matters. L&W’s other chapter 11 representations are unrelated to the Chapter 11

Cases and the Debtors. I do not believe these representations preclude L&W from meeting the

disinterestedness standard under the Bankruptcy Code.

                        Relationships with Parties to Pending Litigations

          35.    L&W represents Meta Platforms, Inc. (“Meta”) in connection with the lawsuit

captioned Sony Music Entertainment, et al. v. Vital Pharmaceuticals, Inc., Case No. 1:21-cv-22825

(S.D. Fla.). Meta is not a party to the litigation. However, earlier this year, the Debtors served

Meta with a third-party subpoena, and L&W represented Meta in responding to that subpoena. I

do not believe that this representation precludes L&W from meeting the disinterestedness standard

under the Bankruptcy Code.

          36.    L&W currently represents Sony Music Entertainment and certain of its affiliates

(collectively, “Sony”) in a variety of matters. Sony is party to certain ongoing litigation with the

Debtors, including the matter noted above in paragraph 35. L&W does not represent and will not

represent Sony or the Debtors in connection with such litigation. L&W’s representations of Sony

or any of its subsidiaries or affiliates are unrelated to the Debtors or the Chapter 11 Cases. I do

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not believe that these representations preclude L&W from meeting the disinterestedness standard

under the Bankruptcy Code.

       37.     In addition, certain attorneys at L&W represented certain parties to pending

litigations prior to joining L&W. In particular, an L&W partner, Steve Feldman, represented

Monster Energy Company (“Monster”) in certain litigations involving the Debtors, including the

lawsuit captioned Monster Energy Co. v. Vital Pharmaceuticals Inc. et al., Case No. 5:18-cv-

01882 (C.D. Cal.). Mr. Feldman has not represented Monster since joining L&W on January 1,

2021, and Monster is not a past or present client of L&W. Further, Mr. Feldman is not one of the

L&W attorneys providing services to the Debtors in connection with these Chapter 11 Cases, and

L&W has established an ethical wall prohibiting communications concerning the Debtors or the

Chapter 11 Cases between the attorneys providing services to the Debtors and Mr. Feldman. L&W

and its attorneys do not and will not represent Monster or any of its subsidiaries or affiliates in

connection with such litigations.

       38.     In addition, one or more L&W attorneys represented Keurig Dr Pepper Inc. and

certain of its affiliates (collectively, “Dr Pepper”) prior to joining L&W. Dr Pepper is party to

certain ongoing litigation with the Debtors. Such attorneys have not represented Dr Pepper since

joining L&W, and Dr Pepper is not a past or present client of L&W. In addition, L&W will not

represent Dr Pepper or the Debtors in connection with such litigation. Further, such attorneys are

not involved in providing services to the Debtors in connection with these Chapter 11 Cases.

Lastly, one or more L&W attorneys represented PepsiCo Inc. and certain of its affiliates

(collectively, “Pepsi”) prior to joining L&W. Pepsi is party to certain ongoing litigation with the

Debtors. Such attorneys have not represented Pepsi since joining L&W, and Pespi is not a past or

present client of L&W. In addition, L&W will not represent Pepsi or the Debtors in connection



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with such litigation. Further, such attorneys are not involved in providing services to the Debtors

in connection with these Chapter 11 Cases. I do not believe that the representations described in

this paragraph preclude L&W from meeting the disinterestedness standard under the Bankruptcy

Code.

                            Relationships with Other Professionals

        39.    From time to time, L&W has referred work to other professionals to be retained in

the Chapter 11 Cases, and certain such professionals have referred work to L&W. Also, as part of

its practice, L&W appears in cases, proceedings, and transactions involving many different

attorneys, accountants, financial consultants, and investment bankers, some of whom now or may

in the future represent claimants and other parties in interest in these cases. L&W has not

represented, and will not represent, any such parties in relation to the Debtors or their Chapter 11

Cases. L&W does not have any relationship with any such attorneys, accountants, financial

consultants, or investment bankers that would be adverse to the Debtors or their estates.

        40.    L&W currently represents or formerly represented certain of the Debtors’ other

professionals in a number of different matters unrelated to the Debtors and the Chapter 11 Cases.

I do not believe that L&W’s past or current representation of these other professionals in matters

unrelated to the Debtors or the Chapter 11 Cases precludes L&W from being a disinterested party

under the Bankruptcy Code. In the event that the Debtors and any of the applicable professionals

become directly adverse to one another in an adversary proceeding in the Chapter 11 Cases, the

Debtors will employ conflicts counsel to handle the matter as necessary.

                          L&W Attorney Connection to the Debtors

        41.    The sister of L&W associate Hunter Newell is a social media influencer who

promotes the Debtors’ products and holds a negligible claim against the Debtors. Mr. Newell does

not hold a claim against the Debtors. However, out of an abundance of caution, L&W has

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established an ethical wall prohibiting communications concerning the Debtors or the Chapter 11

Cases between the attorneys providing services to the Debtors and Mr. Newell. I do not believe

that the connection described in this paragraph precludes L&W from meeting the disinterestedness

standard under the Bankruptcy Code.

                                 L&W Attorney Investments

       42.     From time to time, L&W partners, of counsel, associates, and employees, or

members of the households of the foregoing, personally invest in mutual funds, retirement funds,

private equity funds, venture capital funds, hedge funds, fund of funds, and other types of

investment funds (the “Investment Funds”), through which such individuals indirectly acquire an

interest in debt or equity securities of many companies, one of which may be one of the Debtors,

their creditors, or other parties in interest in the Chapter 11 Cases, often without L&W’s

knowledge.    Each such person generally owns substantially less than one percent of such

Investment Fund, does not manage or otherwise control such Investment Fund, and has no

influence over the Investment Fund’s decision to buy, sell, or vote any particular security. The

Investment Funds are generally operated as a blind pool, meaning that when such persons make

an investment in an Investment Fund, he, she, or they do not know what securities the blind pool

Investment Fund will purchase or sell and have no control over such purchases or sales.

       43.     From time to time one or more L&W partners voluntarily choose to form an entity

(a “Passive-Intermediary Entity”) to invest in one or more Investment Funds or, in certain

instances, directly in private companies. Such Passive-Intermediary Entity is comprised only of

persons who were L&W partners or retired partners at the time of the Passive-Intermediary

Entity’s formation (although some may later become former L&W partners), and participation in

such a Passive-Intermediary Entity is wholly voluntary and only a portion of L&W’s partners

choose to participate. L&W itself does not invest in the Passive-Intermediary Entity. The Passive-

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Intermediary Entity generally owns substantially less than one percent of any underlying

Investment Fund, does not manage or otherwise control such Investment Fund, and has no

influence over the Investment Fund’s decision to buy, sell, or vote any particular security. Each

Investment Fund in which a Passive-Intermediary Entity invests is operated as a blind pool, so that

the Passive-Intermediary Entity does not know what securities the blind pool Investment Funds

will purchase or sell, and has no control over such purchases or sales. The Passive-Intermediary

Entities commonly receive periodic statements and communications from the underlying

Investment Funds. The L&W partners participating in the Passive Intermediary may or may not

know the identity of the Investment Fund’s underlying investments or the identity of the securities

purchased, sold, or held by the Investment Fund.

       44.     Certain of the Passive-Intermediary Entities may make a direct investment into a

private company. It is my understanding that no Passive-Intermediary Entity has made any direct

investment into the Debtors or otherwise purchased any debt or equity security of the Debtors. In

addition, as discussed above, the Firm Disclosure Procedures involve sending a general inquiry to

all L&W attorneys to determine whether any such individuals or any members of their households

own or owned any debt or equity securities of the Debtors or hold or held any claim against or

interest adverse to the Debtors, among other things. Thus far, no response to this general inquiry

has disclosed the ownership of any debt or equity securities of the Debtors or the holding of any

claim against or interest adverse to the Debtors.

       45.     From time to time, L&W partners, of counsel, associates, and employees personally

directly acquire a debt or equity security of a company, which may be (or become) one of the

Debtors, their creditors, or other parties in interest in the Chapter 11 Cases. L&W has a long-

standing policy prohibiting attorneys and employees from using material non-public information



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that may come to their attention in the course of their work, so that all L&W attorneys and

employees are barred from trading in securities with respect to which they possess material non-

public information.

                OTHER INVESTIGATION AND DISCLOSURE MATTERS

       46.     L&W’s investigation and research of the Potential Parties in Interest has thus far

failed to eliminate the possibility that Potential Parties in Interest other than those listed on

Appendix 2 hereto may be current or former clients of L&W because: (a) the names of the Potential

Parties in Interest are similar to, but not identical to, current or former L&W clients; or (b) the

names of the Potential Parties in Interest are common names that appeared on our conflict search

results, but do not appear to be the same individuals or entities that are parties in interest herein.

       47.     Although L&W has undertaken, and continues to undertake, extensive efforts to

identify connections with the Debtors and other Potential Parties in Interest, it is possible that

connections with some Potential Parties in Interest have not yet been identified. Should L&W,

through its continuing efforts, learn of any new connections of the nature discussed herein, L&W

will so advise this Court in a timely manner as soon as reasonably practicable.

       48.     L&W will not, while employed by the Debtors during the pendency of the Chapter

11 Cases, represent an interest adverse to the Debtors or their estates.

       49.     Insofar as I have been able to ascertain, I know of no conflict of interest that would

preclude L&W’s representation of the Debtors in the Chapter 11 Cases.

       50.     The foregoing constitutes the statement of L&W pursuant to sections 327(a), 329,

and 504 of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016(b).

                                       [Signature page follows]




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       Pursuant to 28 U.S.C. § 1746, to the best of my knowledge, information and belief, and

after reasonable inquiry, I declare under penalty of perjury that the foregoing is true and correct.

  Dated: October 10, 2022
  Washington, D.C.
                                                     /s/ Andrew D. Sorkin
                                                     Andrew D. Sorkin
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                       Appendix 1

             Potential Parties in Interest List
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                                     Potential Parties in Interest List1

    1. Debtors and Affiliated Entities

           Vital Pharmaceuticals, Inc.                            Entourage IP Holdings, LLC
           Vital Pharmaceuticals International Sales,             Bang Energy Canada, ULC
           Inc.
           Bang Energy Canada, Inc.                               Bang Jets, LLC
           JHO Intellectual Property Holdings, LLC                Bang Energy Mexico S. DE R.L. de C.V.
           JHO GA-1 Investment, LLC                               Bang Energy B.V.
           JHO NV-1 Investment, LLC                               Bang Energy (Australia) Pty Ltd.
           JHO Real Estate Investment, LLC                        Bang Energy VPX Sports Ecuador S.A.S.
           Sheridan Real Estate Investment A, LLC                 Bang Energy Costa Rica LTDA
           Sheridan Real Estate Investment B, LLC                 Bang Energy Peru S.A.C.
           Sheridan Real Estate Investment C, LLC                 Bang Energy Brazil LTDA (Brazil)
           Quash Seltzer, LLC                                     Bang Energy Chile SPA
           Rainbow Unicorn Bev LLC                                Bang Energy Colombia SAS

    2. Debtors’ Restructuring Professionals

           Latham & Watkins LLP                                    Huron Consulting Group
           Berger Singerman LLP                                    Rothschild & Co US Inc.

    3. Ordinary Professionals

          Quarles & Brady LLP                                          Nelson Mullins Riley & Scarborough
                                                                       LLP
          Pettit Kohn Ingrassia Lutz & Dolin PC                        J. Robbin Law, PLLC
          Kuckelman Torline Kirkland                                   Krishel Law Firm
          Wilson Elser Moskowitz Edelman                               Murchison & Cumming, LLP
          Jackson Lewis P.C.                                           Cole, Scott & Kissane, P.A.
          Moore Rabinowitz Law

    4. Lease Counterparties

           General Motors Financial Company, Inc.                      Ally Financial
           Crown Lift Trucks                                           Crown Equipment Corporation
           Crown Credit Company                                        Penske Truck Leasing Co., L.P.
           Ryder System, Inc.                                          Chrysler Capital



1
    The parties included on this list (and the categories contained herein) are for purposes of a conflicts check only
    and should not be relied upon by any party as a list of creditors or for any other purpose. As listing a party once
    allows our conflicts specialists to run a check on such party, we have attempted to remove duplicate entries where
    possible. Accordingly, a party that would otherwise fall under multiple categories is likely to be listed under only
    one category


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5. Landlords/Lessors

    12M Commercial Properties, LLC                Phx Warehouse
    1600FL, LLC                                   Prologis Targeted US
    C1 DAL III-V, LLC - Colony Capital            Ranger H-TX LP
    Centerpoint (Dogwood)                         Rbrothers LLC/ NV, LLC
    CK Afton Ridge II, LLC                        Rexford Inudstrial Realty, LP
    Dalfen Industrial                             The Rose Properties
    Dogwood Holdings, LLP                         TGA Cactus DC II LLC Teachers Ins &
                                                  Annuity Assoc of America
    Driscoll, LLP                                 Personal Mini Storage
    Duke Realty                                   Neighborhood Storage Center Co
    Eastgroup Properties LP - Jacksonville        Midgard Self Storage
    Eastgroup Properties, LP                      Compass Self Storage
    Everman Trade Center (Cabot Industrial)       Spring Lake Storage
    Evox Holdings LLC (Sheridan B)                Menifee storage
    Icon Industrial Owner Pool - Bree Jupiter     West Side Storage
    Western
    Kearny Mesa West, LLC                         Powdersville Self Storage
    KP Properties of Ohio                         Tucson RV Storage
    PPF Lincoln Medley, LLC                       Welbic WF Management LLC
    Medley Logistics                              Gimmel Tammuz Realty

6. Counsel/Professionals to Material Counterparties

     Moore & Van Allen PLLC                           FTI Consulting
     Shutts & Bowen LLP

7. Current and Former Officers and Directors of Debtors and Affiliates

     Greg Robbins                                     Gregg Metzger
     Frank Massabki                                   Gene Bukovi
     Rich Caruso                                      Eugene Bukovi
     Kathleen Cole                                    Guillermo Escalante
     Eric Hillman

8. Significant Equityholders

     John H. Owoc

9. Secured Lenders

    Truist Bank                                     Synovus Bank
    CoBank, ACB                                     Federal Agricultural Mortgage
                                                    Corporation



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    Agcountry Farm Credit Services, FLCA              Huntington National Bank
    Farm Credit Bank of Texas                         Greenstone Farm Credit Services,
                                                      FLCA
    Citizens Bank, N.A.                               Comerica Bank
    Compeer Financial, PCA                            HSBC Bank USA, N.A.
    United Community Bank d/b/a Seaside Bank
    and Trust

10. Banking Relationships

    Bank of America, N.A.                           PayPal

11. Parties to Pending Litigation

     Alejandro Machado                           Reign Inferno
     Balboa Capital Corporation                  Monster Energy Company
     Ball Corporation                            Nexus Steel, LLC
     Bang Diamonds LLC                           Orange Bang, Inc.
     Belvac Production Machinery, Inc.           PepsiCo, Inc.
     Berlin Manufacturing                        Premier Distributing Company
     Berlin Packaging, LLC                       Premier Nutrition Products, LLC
     Brandyn Alejos                              Premium Beverage Company
     Breen Acres Aquatics, Inc.                  ProSupps
     Dairy Farmers of America, Inc.              Pro Supps USA LLC d/b/a Professional
                                                 Supplements A/K/A Pro Supplements
     Daniel Yepes                                Quang Nguyen
     Derik Fay                                   Rodney Cyril Sacks
     Elegance Brands, Inc.                       Bryan Shane Dees
     Europa Sports Partners                      Sony Music Entertainment
     Gulfstream Aerospace Corporation            Stephen Cohen
     Joao P Leopardo                             Suddath Global Logistics, LLC
     Keurig Dr Pepper Inc.                       The American Bottling Company Inc.
     Markerly, Inc.                              The House of LaRose, Inc.
     Massimo Zanetti Beverage USA, Inc.          TikTok, Inc.
     Webb & Gerritsen, Inc.                      Triller, Inc.
     Yaritza Lozano                              Shannon Troglia
     Warner Music Group                          UMG Recordings, Inc.
     Adam Perry                                  Vani Deva Hari a/k/a “Food Babe”
     Amanda Wightman                             Aaronda Walton
     Amber N. Killmon                            Amanda Light
     Amy Maros                                   Arianna Jonae Henderson
     Andrew LaRocca                              Arnold Classic Australia PTY, LTD
     Branch Banking and Trust Company            Averell Luedecker
     Carnegie Technologies, LLC                  Brett Martin


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     Christin Kubsch                           Brightfractal, Inc.
     Csc Corporate Domains, Inc.               Dang Foods LLC
     Christopher Alfieri                       Edmund Elien
     Crystal Bowley-Reagan                     Energy Beverages, LLC
     Darrell James Bennet II                   Fabco Metal Products LLC
     David Serrano Ramirez                     GNC Holdings Inc.
     Integrated Masonry                        Gorilla Marketing, LLC
     ISEC Inc.                                 Haci Mechanical Contractors Inc.
     James Rodriguez                           Heavy Equipment Movers & Installation LLC
     Jasmine Sade Williams                     Hardrock Concrete Placement Co Inc.
     Jeannine Smith                            Landmark Custom Homes of Broward
     Jennifer Quillen                          Landmark Custom Ranches Inc.
     Kelly Ocampo                              Lasiah R. Villalpando
     Konya Seker Sanayi Ve Ticaret             Laura Dawson
     Anonim Sirketi
     Kristin Wong                              Leading Edge Expositions, LLC d/b/a
                                               LEEXPOS
     Krystle Michele Glenn                     Marc J. Kesten
     Monster Beverage Corporation              PhD Marketing, INC.
     Noel Christmas Lights Professional,       Prime Time Group Corp
     Inc. d/b/a Noelle Lights
     NoSo Holdings LLC                         Professional Supplements LLC d/b/a Wisconsin
                                               Professional Supplements LLC and A/K/A
                                               Official Professional Supplements
     Reign Beverage Company LLC                Records Label, LLC
     Scarlett Bridget Hernandez-Zavala         Tadasha Lenorah Hodges
     Scarlett Hernandez                        Terra Weston Residential, LLC
     Smart Technologies Solutions, LLC         Trench Shore Rentals
     Summer Shores                             Tunes LLC
     Victor Lanza                              Wallice Plumbing, Inc.

12. Insurance and Insurance Providers

     Federal Insurance Company                 AXIS Surplus Insurance Company
     Great Northern Insurance Company          Arch Specialty Insurance Company
     Navigators Specialty Insurance            StarStone National Insurance Company
     Company
     American International Group, Inc.        Aspen Specialty Insurance Company
     Colony Insurance Company                  Landmark American Insurance Company
     Travelers Property Casualty               Lexington Insurance Company
     Company of America
     Lloyd's of London                         Hallmark Insurance Company




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      13. Potential Major Unsecured Creditors (Including Counterparties to Major
          Contracts)

           Varni Brothers Corporation                          Ardagh Metal Beverage USA, Inc.
           Total Quality Logistics, LLC TQL                    Ball Metal Beverage Container Corp
           XPO Global Forwarding, Inc.                         Graphic Packaging International
           Shanghai Freeman Americas, LLC                      Priority-1, Inc.
           American Express                                    QuikTrip Corporation
           Gordon & Rees                                       England Logistics, Inc
           CW Carriers Dedicated Inc.                          Glen Raven Logistics Inc.
           Inovar Packaging Florida, LLC                       Doehler USA, Inc.
           Fona International Inc.                             MHW, Ltd/ Doehler NA
           FedEx                                               Wild Flavors, Inc.

      14. Vendors2

           Refresco Canada Inc.                                MetLife Insurance
           Prinova Solutions Europe Limited                    Mutual of Omaha
           Prinova US LLC                                      ADP, Inc. (Automatic Data Processing,
                                                               Inc.)
           CKS Packaging, Inc.                                 Transamerica Employee Benefits
           Konings Drinks BV                                   Principal Life Insurance 401K
           Trinity Logistics Inc.                              Brown & Brown of Florida Inc.,
           United Health Care                                  WageWorks
           Concentra - Occupational Health Centers             Nationwide DVM Insurance Agency
           of the Southwest, P.
           CHUBB & SON                                         First Insurance Funding
           Optum Financial, Inc.                               The Mercova Group LLC
           STB Agency Services Operating                       Trans-Market, LLC
           Krones, Inc.                                        Berner Food & Beverage, LLC
           Chicago Title Company, LLC                          Milk Specialties Global
           Refresco Beverage US Inc. COTT                      CHEP USA
           Team Eagle Logistics                                KRYNICA VITAMIN SPÓŁKA
                                                               AKCYJNA
           J.B. Hunt Transport, Inc.                           Updike Distribution
           The Haskell Company                                 Imbera S.A. de C.V.
           Sidel Blowing & Services                            Network LeasePlan U.S.A., Inc.
           Arizona Production & Packaging LLC                  Portland Bottling Company
           United States Treasury                              American International Foods
           BagPak Poland LLC                                   Presence From Innovation
           Glen Raven Logistics Inc.                           CI421 474 W Buckeye LLC CAM
                                                               INVESTMENTS 421 LLC

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    The vendors included herein includes vendors representing the top 80% of the Debtors’ spend over the past 24
    months.


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    Expolanka USA LLC                             CSPC Innovations USA Inc.
    Alto Freight                                  Costco Wholesale Corp
    R&K Logistics, Inc.                           Takasago International Corporation
    Kalis Kleiman & Wolfe                         Wuzhi County Zhihui Sci & Tech Co, LTD
    Solar Green Biotechnologies, Inc. Wuxi        Cabot Industrial Value Fund VI Operating
    Cima Science Co.                              CIVF VI-TX1M01-M04,
    ACE Tools CO LIMITED                          Khalsa Transportation Inc.
    Genesis Global Workforce Solutions            ABF Freight

15. Lien Search Parties

    Ignite International, Ltd.                    Great America Financial Services Corp.
    Ignite Beverages, Inc.                        Hitachi Capital America Corp.
    James Gracely                                 Cheryl Ohel
    DeLage Landen Financial Services, Inc.        Donna Williams
    TFG Leasing Fund III, LLC                     Briggs Equipment, Inc.
    Canon Financial Services, Inc.                City Beverage-Illinois, LLC d/b/a Lake
                                                  Shore Beverage, LLC
    PNC Bank, National Association                Spirit & Sanzone Distributors Co., Inc.
    PNC Equipment Finance, LLC                    UMC Recordings, Inc.
    Webbank                                       Capitol Records, LLC
    CT Corporation System                         Universal Music Corp.
    Toyota Industries Commercial Finance,         Universal Music Z Tunes LLC
    Inc.
    Americredit Financial Services, Inc. d/b/a    Universal Musica, Inc.
    GM Financial
    U.S. Bank Equipment Finance                   Polygram Publishing, Inc.
    BFG Corporation                               Songs of Universal, Inc.
    Centurylink Communications, LLC               Universal Music-MGB NA, LLC
    Sony Music Entertainment US Latin LLC         Dang Foods Company
    Zomba Recording LLC                           Arista Records LLC
    Arista Music                                  LaFace Records LLC
    Record Label, LLC                             Cryo-Lease, LLC
    Volcano Entertainment III LLC

16. Other Unsecured Creditors

    7-Eleven, Inc.                             SEKO WORLDWIDE LLC
    Circle K Stores, Inc.                      Dieck & Co. Erfrischunsgetranke OHG
    Independent Buyers Co-op                   C.H. Robinson International
    QuikTrip Corporation                       Gehlen Schols Transport & Logistics B.V
    Speedway LLC                               ADM Wild Europe GmbH & Co. KG
    Target Corporation                         DIS BV
    Affordable Buying Group                    Refresco Iberia
    Family Dollar, Inc.                        Prinova Solutions Europe Limited


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    NY Barbell                                Ewals Cargo Care B.V.
    Kroger                                    Oettinger Brauerei GmbH
    CHEVRON EXTRA MILE                        Kerry Ingredients & Flavours Italia Spa
    Stellar Group, Inc.                       WERK Plaats Sittard b.v.
    Doehler Dry Ingredients Solutions         EFL GLOBAL LOGISTICS CANADA LTD
    Crown Cork & Seal USA, Inc.               POP Display Product (HK) Limited
                                              Dongguan Pop Display & Pack
    Direct Connect Logistix, Inc.             Refresco Canada Inc.
    Green Wave Ingredients (GWI)              Simon Pure Marketing Inc.
    Total Quality Logistics, LLC TQL          Alliance IntraPak Inc.
    Nelson Mullins Riley & Scarborough        CHEP Canada Inc.
    LLP
    QuikTrip Corporation                      Expert Aviation Inc.
    Inventus, LLC Legility                    Alto Systems (Stoked)
    States Logistics Services, Inc.           C.H. Robinson International
    Parallel Products                         All Brands Distribution, LLC
    KJM Aluminum Can SDN BHD                  Timothy Brown
    Recycle America LLC                       Peter Fischer
    Total Quality Logistics, LLC TQL          Brendan Abbot
    Keller Warehousing & Co-Packing           Jacob Scheibe
    LLC
    Navajo Express, Inc.                      Southeast Cold Fill, LLC
    Fusion Logistics Services, LLC            Daisy Duke Promotions, LLC
    England Logistics, Inc.                   Carolina Canners
    Krier Foods, Inc.                         Modern Jet Solution

17. Taxing and Other Significant Governmental Authorities

    IRS Department of Treasury              State of Florida
    Alabama Department of Revenue           Georgia Dept of Revenue Processing
                                            Center
    Arizona Department of Economic Security Illinois Department of Revenue
    Arizona Department of Revenue           Kentucky Department of Revenue
    Colorado Department of Revenue          Massachusetts Department of Revenue
    Commonwealth of Massachusetts William Minnesota Revenue
    Francis Galvin
    Comptroller of Maryland Revenue         Nevada Dept. of Taxation
    Administration Division
    Franchise Tax Board California          New Hampshire Employment Security
                                            ATTN: Cashier
    Georgia Department Of Revenue           New Jersey Division of Taxation Revenue
                                            Processing Center
    New Jersey DOR                          State of Connecticut Dept of Revenue Svc
    North Carolina Dept of Revenue NCDOR State of Delaware
    Ohio Treasurer of State                 State of Massachusetts


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    Oregon Department of Revenue                 State of New Hampshire
    Oregon Dept of Revenue POBox14780            State of New Jersey
    South Carolina Department of Revenue         State of NJ Division of Taxation
                                                 Corporation Business Tax
    State of Connecticut                         Tennessee Department of Revenue
    Texas Comptroller of Public Accounts         Virginia Department of Taxation
    Utah State Tax Commission                    Wisconsin Department of Revenue

18. Utility Providers

    All Pro Pest                                  Garratt - Callahan
    Amerigas                                      Green Mountain Energy
    AT&T                                          Greystone Power-GA location
    Athens Services                               GTT
    Atmos Energy                                  JEA
    Austell Natural Gas-GA location               Kone Elevator
    Balgas                                        LADWP-ELCTRICITY
    Blue Stream                                   Landcare
    City of Fort Myers                            Lee County Electric Company
    City of Pembroke Pines                        NV Energy
    City of Phoenix                               Ontario Municipal
    City of Sunrise                               Ontario-Water
    Clark County Water                            Orange County
    Comcast                                       Orlando Utilities Commission
    ConnectWise                                   Prime Power
    Cox                                           ReadyRefresh
    Critical System                               Reliant
    Daiken                                        Republic Services
    De Lage Landen Financial Services             Rocky Mountain
    Dominion Energy                               San Diego Gas & Electric
    Douglas County Water& Sewer-GA                SecurAmerica
    Location
    Duke Energy                                   Southern California Edison
    Fire Alarm                                    Southwest Gas Corporation
    Frontier                                      TECO
    Sparklets                                     Town of Medley
    Spectrum                                      TXU
    Spectrum Business                             Verizon
    SRP                                           Viasat
    Suburban Propane                              Weston
    Waste Management                              Xcel Energy
    Waste Pro                                     Waste Recycle




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19. United States Bankruptcy Judges in the Southern District of Florida

    The Honorable A. Jay Cristol                  The Honorable Peter D. Russin
    The Honorable Robert A. Mark                  The Honorable Erik P. Kimball
    The Honorable Scott M. Grossman               The Honorable Laurel M. Isicoff, Chief
                                                  Judge
    The Honorable Mindy A. Mora

20. Staff for Southern District of Florida Bankruptcy Judges

     Emily Maza                                   Marcy Gatell
     Kayla Heckman                                Corinne Aftimos
     Noemi Sanabria                               Jackie Antillon
     Jennifer Rolph                               Tara Trevorrow
     Cheryl Kaplan                                Meera Khan
     Susan Gutierrez                              Maria Romaguera-Serfaty
     Dawn Leonard                                 Edy Gomez
     Grace V. Figueroa                            Casey Wiener
     Melva Weldon

21. United States Trustee for the Southern District of Florida (and Key Staff Members)

    Guy A. Van Baalen                             Sofia Kesep
    Heather Barfus                                Keith H. Kronin
    Adisley M. Cortez-Rodriguez                   Lupe M. Martinez
    Diane M. DeZinno                              Diana M. Nuñez
    Heidi A. Feinman                              Hugo L. Paiz
    Lynn M. Fernandez                             Ariel Rodriguez
    Myriam A. Fernandez                           Steven D. Schneiderman
    Charles A. Fordham                            Katherine E. Simons
    Dan Lee Gold                                  Yevgeny Sulsky
    Benedicto J. Gonzalez-Leon




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                      Appendix 2

                    Client Match List
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                                                Client Match List


            Matched Entity                    Relationship to Debtors                Relationship to L&W1

    Huron Consulting Group                Debtors’ Restructuring                 Current Client, Prior Client
                                          Professionals
    Rothschild & Co US Inc.               Debtors’ Restructuring                 Current Client, Former Client,
                                          Professionals                          Prior Client
    Wilson Elser Moskowitz                Ordinary Professionals                 Prior Client
    Edelman
    General Motors Financial              Lease Counterparties                   Current Client, Prior Client
    Company, Inc.
    Crown Lift Trucks                     Lease Counterparties                   Prior Client
    Ryder System, Inc.                    Lease Counterparties                   Prior Client
    Ally Financial                        Lease Counterparties                   Former Client, Prior Client
    Crown Equipment Corporation           Lease Counterparties                   Prior Client
    Penske Truck Leasing Co., L.P.        Lease Counterparties                   Current Client, Prior Client
    Chrysler Capital                      Lease Counterparties                   Current Client, Prior Client
    Ally Financial                        Lease Counterparties                   Former Client, Prior Client
    Penske Truck Leasing Co., L.P.        Lease Counterparties                   Current Client, Prior Client
    FTI Consulting                        Counsel/Professionals to               Current Client, Prior Client
                                          Material Counterparties
    Truist Bank                           Secured Lenders                        Current Client, Prior Client
    CoBank, ACB                           Secured Lenders                        Current Client, Prior Client
    Citizens Bank, N.A.                   Secured Lenders                        Current Client, Prior Client
    United Community Bank d/b/a           Secured Lenders                        Current Client
    Seaside Bank and Trust
    Synovus Bank                          Secured Lenders                        Prior Client
    Huntington National Bank              Secured Lenders                        Current Client, Prior Client
    HSBC Bank USA, N.A.                   Secured Lenders                        Current Client, Former Client,
                                                                                 Prior Client
    Ardagh                                Parties to Pending Litigation          Prior Client
    Branch Banking and Trust              Parties to Pending Litigation          Current Client, Prior Client
    Company
    Berlin Packaging                      Parties to Pending Litigation          Prior Client

1
    The term “Current Client” refers to an entity listed as a client in L&W’s Client Database for whom time has been
    recorded in the past three years and L&W has at least one open matter. The term “Former Client” refers to an entity
    listed as a client in L&W’s Client Database for whom time has been recorded in the past three years but all matters
    for such client have since been closed. The term “Prior Client” refers to an entity listed as a client of an L&W
    attorney while such attorney was at a prior firm. L&W does not disclose connections if time was recorded more
    than three years before the Petition Date.
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        Matched Entity               Relationship to Debtors              Relationship to L&W1

City Beverage-Illinois, LLC       Parties to Pending Litigation       Former Client
Csc Corporate Domains, Inc.       Parties to Pending Litigation       Former Client, Prior Client
Dairy Farmers of America Inc.     Parties to Pending Litigation       Current Client, Prior Client
GNC Holdings, Inc.                Parties to Pending Litigation       Former Client
Gulfstream & Expert Aviation      Parties to Pending Litigation       Prior Client
Keurig Dr Pepper Inc.             Parties to Pending Litigation       Prior Client
Lloyds London                     Parties to Pending Litigation       Prior Client
Monster Beverage Corporation      Parties to Pending Litigation       Prior Client
Monster Energy Company            Parties to Pending Litigation       Prior Client
PepsiCo, Inc.                     Parties to Pending Litigation       Prior Client
Premier Nutrition Products,       Parties to Pending Litigation       Prior Client
LLC
Sony Music Entertainment          Parties to Pending Litigation       Current Client, Former Client,
                                                                      Prior Client
Spirit & Sanzone                  Parties to Pending Litigation       Past Other Party
TikTok                            Parties to Pending Litigation       Current Client, Former Client,
                                                                      Prior Client
Triller                           Parties to Pending Litigation       Current Client
Warner Music Group                Parties to Pending Litigation       Current Client, Former Client,
                                                                      Prior Client
XPO Global Forwarding, Inc.       Potential Major Unsecured           Current Client, Prior Client
                                  Creditors (Including all
                                  Counterparties to Major
                                  Contracts)
American Express                  Potential Major Unsecured           Former Client, Prior Client
                                  Creditors (Including all
                                  Counterparties to Major
                                  Contracts)
FedEx                             Potential Major Unsecured           Prior Client
                                  Creditors (Including all
                                  Counterparties to Major
                                  Contracts)
Ardagh Metal Beverage USA,        Potential Major Unsecured           Prior Client
Inc.                              Creditors (Including all
                                  Counterparties to Major
                                  Contracts)
Graphic Packaging International   Potential Major Unsecured           Current Client, Prior Client
                                  Creditors (Including all
                                  Counterparties to Major
                                  Contracts)
Crown Cork & Seal USA, Inc.       Potential Major Unsecured           Prior Client
                                  Creditors (Including all

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        Matched Entity               Relationship to Debtors              Relationship to L&W1

                                  Counterparties to Major
                                  Contracts)
Ardagh Metal Packaging USA        Lien Search Parties                 Prior Client
Corp.
City Beverage-Illinois, LLC       Lien Search Parties                 Former Client
d/b/a Lake Shore Beverage,
LLC
DeLage Landen Financial           Lien Search Parties                 Prior Client
Services, Inc.
PNC Bank, National                Lien Search Parties                 Current Client, Former Client,
Association                                                           Prior Client
PNC Equipment Finance, LLC        Lien Search Parties                 Past Other Party, Adversary at
                                                                      Prior Firm
Webbank                           Lien Search Parties                 Current Client, Prior Client
CT Corporation System             Lien Search Parties                 Prior Client
Toyota Industries Commercial      Lien Search Parties                 Current Client, Former Client,
Finance, Inc.                                                         Prior Client
Americredit Financial Services,   Lien Search Parties                 Current Client, Prior Client
Inc. d/b/a GM Financial
U.S. Bank Equipment Finance       Lien Search Parties                 Current Client, Former Client,
                                                                      Prior Client
Centurylink Communications,       Lien Search Parties                 Current Client, Prior Client
LLC
Universal Music Z Tunes LLC       Lien Search Parties                 Current Client, Prior Client
Universal Music-MGB NA,           Lien Search Parties                 Prior Client
LLC
Universal Musica, Inc.            Lien Search Parties                 Current Client, Prior Client
Dang Foods Company                Lien Search Parties                 Prior Client
IRS Department of Treasury        Taxing and Other Significant        Prior Client
                                  Governmental Authorities
State of Florida                  Taxing and Other Significant        Former Client
                                  Governmental Authorities
Commonwealth of                   Taxing and Other Significant        Current Client
Massachusetts William Francis     Governmental Authorities
Galvin
State of Connecticut              Taxing and Other Significant        Prior Client
                                  Governmental Authorities
Amerigas                          Utility Providers                   Current Client, Former Client
AT&T                              Utility Providers                   Prior Client
Comcast                           Utility Providers                   Current Client, Former Client,
                                                                      Prior Client


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       Matched Entity              Relationship to Debtors               Relationship to L&W1

Cox                             Utility Providers                    Current Client, Former Client,
                                                                     Prior Client
Daiken                          Utility Providers                    Prior Client
Dominion Energy                 Utility Providers                    Current Client, Former Client,
                                                                     Prior Client
Duke Energy                     Utility Providers                    Current Client, Former Client,
                                                                     Prior Client
Frontier                        Utility Providers                    Current Client, Former Client,
                                                                     Prior Client
Spectrum                        Utility Providers                    Former Client, Prior Client
Suburban Propane                Utility Providers                    Current Client
Waste Management                Utility Providers                    Prior Client
Green Mountain Energy           Utility Providers                    Former Client
GTT                             Utility Providers                    Prior Client
Kone Elevator                   Utility Providers                    Prior Client
LADWP-ELCTRICITY                Utility Providers                    Current Client
NV Energy                       Utility Providers                    Current Client
Orange County                   Utility Providers                    Former Client, Prior Client
Reliant                         Utility Providers                    Current Client, Former Client,
                                                                     Prior Client
Republic Services               Utility Providers                    Prior Client
San Diego Gas & Electric        Utility Providers                    Current Client, Former Client
SecurAmerica                    Utility Providers                    Prior Client
Southern California Edison      Utility Providers                    Current Client, Former Client,
                                                                     Prior Client
Southwest Gas                   Utility Providers                    Prior Client
Southwest Gas Corporation       Utility Providers                    Prior Client
TXU                             Utility Providers                    Current Client
Verizon                         Utility Providers                    Current Client, Former Client,
                                                                     Prior Client
Viasat                          Utility Providers                    Current Client, Prior Client
Weston                          Utility Providers                    Current Client
Xcel Energy                     Utility Providers                    Former Client, Prior Client
C1 DAL III-V, LLC - Colony      Landlords/Lessors                    Current Client, Former Client,
Capital                                                              Prior Client
Centerpoint (Dogwood)           Landlords/Lessors                    Current Client
Kearny Mesa West, LLC           Landlords/Lessors                    Current Client, Prior Client
Prologis Targeted US            Landlords/Lessors                    Prior Client
Rexford Industrial Realty, LP   Landlords/Lessors                    Current Client

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       Matched Entity               Relationship to Debtors             Relationship to L&W1

TGA Cactus DC II LLC             Landlords/Lessors                  Current Client, Former Client,
Teachers Ins & Annuity Assoc.                                       Prior Client
of America
Federal Insurance Company        Insurance and Insurance            Prior Client
                                 Providers
Navigators Specialty Insurance   Insurance and Insurance            Prior Client
Company                          Providers
American International Group,    Insurance and Insurance            Current Client, Former Client,
Inc.                             Providers                          Prior Client
Travelers Property Casualty      Insurance and Insurance            Prior Client
Company of America               Providers
AXIS Surplus Insurance           Insurance and Insurance            Prior Client
Company                          Providers
Arch Specialty Insurance         Insurance and Insurance            Former Client, Prior Client
Company                          Providers
Aspen Specialty Insurance        Insurance and Insurance            Current Client, Prior Client
Company                          Providers
Landmark American Insurance      Insurance and Insurance            Current Client, Prior Client
Company                          Providers
Lexington Insurance Company      Insurance and Insurance            Current Client, Prior Client
                                 Providers
ADP, Inc. (Automatic Data        Vendors                            Prior Client
Processing, Inc.)
Cabot Industrial Value Fund VI   Vendors                            Prior Client
Operating CIVF VI-TX1M01-
M04
CHEP USA                         Vendors                            Prior Client
Chicago Title Company, LLC       Vendors                            Former Client
CHUBB & SON                      Vendors                            Prior Client
Costco Wholesale Corp            Cendors                            Current Client, Prior Client
CSPC Innovations USA Inc.        Vendors                            Prior Client
J.B. Hunt Transport, Inc.        Vendors                            Current Client, Prior Client
MetLife Insurance                Vendors                            Current Client, Former Client,
                                                                    Prior Client
Nationwide DVM Insurance         Vendors                            Current Client, Former Client,
Agency                                                              Prior Client
Network LeasePlan U.S.A., Inc.   Vendors                            Prior Client
Optum Financial, Inc.            Vendors                            Current Client, Former Client,
                                                                    Prior Client
Principal Life Insurance 401K    Vendors                            Current Client, Former Client,
                                                                    Prior Client


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         Matched Entity          Relationship to Debtors             Relationship to L&W1

Refresco Canada Inc.          Vendors                            Current Client
Transamerica Employee         Vendors                            Current Client, Prior Client
Benefits
United States Treasury        Vendors                            Prior Client
United Health Care            Vendors                            Current Client, Prior Client
7-Eleven, Inc.                Other Unsecured Creditors          Former Client
Circle K Stores, Inc.         Other Unsecured Creditors          Prior Client
Family Dollar, Inc.           Other Unsecured Creditors          Prior Client
Kroger                        Other Unsecured Creditors          Prior Client
CHEVRON EXTRA MILE            Other Unsecured Creditors          Current Client, Former Client,
                                                                 Prior Client
XPO Global Forwarding, Inc.   Other Unsecured Creditors          Current Client, Prior Client
ADM Wild Europe GmbH &        Other Unsecured Creditors          Prior Client
Co. KG
CHEP Canada Inc.              Other Unsecured Creditors          Prior Client
Gulfstream Aerospace          Other Unsecured Creditors          Prior Client
Corporation
Timothy Brown                 Other Unsecured Creditors          Prior Client
The House of LaRose, Inc.     Other Unsecured Creditors          Past Other Party
Bank of America               Banking Relationships              Current Client, Former Client,
                                                                 Prior Client
PayPal                        Banking Relationships              Current Client, Former Client,
                                                                 Prior Client




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                       EXHIBIT B

                    (Engagement Letter)
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                      EXHIBIT C

                    (Proposed Order)
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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

In re:                                                      Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al.,                        Case No. 22-17842 (PDR)
                                                            (Joint Administration Pending)
          Debtors.1
                                            /

                 INTERIM ORDER APPROVING THE EMPLOYMENT
                OF LATHAM & WATKINS LLP, AS CO-COUNSEL FOR
           DEBTORS-IN-POSSESSION, EFFECTIVE AS OF THE PETITION DATE

          THIS MATTER having come before the Court for a hearing on October __, 2022 at ___

a.m./p.m. in Fort Lauderdale, Florida upon the Debtors’ Emergency Application for Approval, on

an Interim and Final Basis, of the Employment of Latham & Watkins LLP as Counsel for



1
    The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
    tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (“Vital Pharmaceuticals”) (8430); (ii) Bang Energy
    Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
    (9394); (v) Quash Seltzer, LLC (“Quash Seltzer”) (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
    Pharmaceuticals International Sales, Inc. (8019).
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Debtors-in-Possession, Effective as of the Petition Date [ECF No. ___] (the “Application”),2 the

Declaration of John C. DiDonato in Support of First Day Pleadings [ECF No. ___] (the “First

Day Declaration”), and the Declaration of Andrew Sorkin, on Behalf of Latham & Watkins LLP,

as Proposed Co-Counsel for Debtors-in-Possession, Effective as of the Petition Date (the

“Sorkin Declaration”) attached to the Application as Exhibit A. The Application requests entry

of interim and final orders approving the Debtors’ employment of Latham & Watkins LLP

(“L&W”) to represent them as bankruptcy co-counsel in these Chapter 11 Cases. The Court has

jurisdiction over the matters raised in the Application pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409. The relief requested in the Application is in the

best interests of the Debtors, their estates, and creditors. The Sorkin Declaration makes relevant

disclosures as required by Bankruptcy Rules 2014 and 2016. The Sorkin Declaration contains a

verified statement as required by Bankruptcy Rule 2014 demonstrating that L&W is disinterested

as required by section 327(a) of the Bankruptcy Code.                      Pursuant to section 327(a) of the

Bankruptcy Code, Bankruptcy Rule 2014(a), and Local Rule 2014-1(A), the Court is authorized

to grant the relief requested in the Application.                  Upon the record herein, and after due

deliberation thereon, good and sufficient cause exists for the granting of the relief as set forth

herein. Accordingly, it is hereby

          ORDERED that:

         1.        The Application is GRANTED on an interim basis.

         2.        The employment by the Debtors, as debtors-in-possession, of L&W as co-counsel

in these Chapter 11 Cases, effective as of the Petition Date, is APPROVED pursuant to section

2
    Capitalized terms used but not defined herein shall have the meanings ascribed in the Application.




                                                           2
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327(a) of the Bankruptcy Code on an interim basis, pending a final hearing as set forth below.

      3.       L&W shall apply for compensation and reimbursement of costs, pursuant to

sections 330 and 331 of the Bankruptcy Code, at its ordinary rates, as they may be adjusted from

time to time, for services rendered and costs incurred on behalf of the Debtors. L&W will apply

for compensation and reimbursement of costs.

      4.       The Court shall conduct a final hearing on the Application on _______________,

2022 at ___________ a.m./p.m. (Eastern Time) (the “Final Hearing”).

      5.       Entry of this Order is without prejudice to the rights of any party-in-interest to

interpose an objection to the Application, and any such objection will be considered on a de novo

standard at the Final Hearing.

      6.       In the event the Application is not granted on a final basis, L&W shall be

authorized to submit a fee application with this Court for compensation for fees and expenses

incurred in the period between the Petition Date and the Final Hearing.

      7.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

                                              # # #

Submitted by:
Jordi Guso, Esq.,
BERGER SINGERMAN LLP
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Miami, FL 33131
Telephone: (305) 755-9500
Facsimile: (305) 714-4340
Email: jguso@bergersingerman.com

(Attorney Guso is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case and file a conforming certificate of service.)




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